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                         IN THE UNITED STATES DISTRICT COURT
                        FOR THE SOUTHERN DISTRICT OF GEORGIA
                                 BRUNSWICK DIVISION


JAMES PERKINS,

                   Movant,                                       CIVIL ACTION NO.: 2:16-cv-99

          v.

UNITED STATES OF AMERICA,                                        (Case No.: 2:14-cr-11)

                   Respondent.


      ORDER and MAGISTRATE JUDGE’S REPORT AND RECOMMENDATION

          This matter comes before the Court upon Movant James Perkins’ (“Perkins”) failure to

comply with the Court’s Order of February 8, 2018, (doc. 4), and his failure to prosecute this

action.        For the following reasons, I RECOMMEND that the Court DISMISS without

prejudice Perkins’ 28 U.S.C. § 2255 Motion for failure to follow the Court’s directive and

failure to prosecute. 1 I further RECOMMEND that the Court DENY Perkins leave to appeal in

forma pauperis and a Certificate of Appealability.



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   A “district court can only dismiss an action on its own motion as long as the procedure employed is fair.
. . . To employ fair procedure, a district court must generally provide the plaintiff with notice of its intent
to dismiss or an opportunity to respond.” Tazoe v. Airbus S.A.S., 631 F.3d 1321, 1336 (11th Cir. 2011)
(citations and internal quotation marks omitted). A Magistrate Judge’s Report and Recommendation
(“R&R”) provides such notice and opportunity to respond. See Shivers v. Int’l Bhd. of Elec. Workers
Local Union, 349, 262 F. App’x 121, 125, 127 (11th Cir. 2008) (indicating that a party has notice of a
district court’s intent to sua sponte grant summary judgment where a magistrate judge issues a report
recommending the sua sponte granting of summary judgment); Anderson v. Dunbar Armored, Inc., 678
F. Supp. 2d 1280, 1296 (N.D. Ga. 2009) (noting that R&R served as notice that claims would be sua
sponte dismissed). This R&R constitutes fair notice to Perkins that his suit is due to be dismissed. As
indicated below, Perkins will have the opportunity to present his objections to this finding, and the
presiding district judge will review de novo properly submitted objections. See 28 U.S.C. § 636(b)(1);
Fed. R. Civ. P. 72; see also Glover v. Williams, No. 1:12-CV-3562-TWT-JFK, 2012 WL 5930633, at *1
(N.D. Ga. Oct. 18, 2012) (explaining that magistrate judge’s report and recommendation constituted
adequate notice and petitioner’s opportunity to file objections provided a reasonable opportunity to
respond).
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                                        BACKGROUND

        On June 27, 2016, Perkins filed a Motion to Vacate, Set Aside, or Correct his Sentence,

pursuant to 28 U.S.C. § 2255, while housed at the Federal Correctional Institution-Williamsburg

in Salters, South Carolina. (Doc. 1.) This Court directed Respondent to respond to Perkins’

Motion. (Doc. 2.) Respondent filed a Response to this Court’s Show Cause Order on July 7,

2016. (Doc. 3.) On February 8, 2018, the Court issued an Order directing Perkins to file a Reply

to Respondent’s Response within twenty-one (21) days of the Court’s Order. (Doc. 4.) The

Court specifically advised Perkins that, if he failed to timely respond or failed to address all of

the Government’s arguments, the Court would presume that he does not oppose the

Government’s arguments and would dismiss his case for failure to prosecute and for failure to

abide by this Court’s Order. (Id. at p. 2.) Despite this warning, Perkins has entirely failed to

respond to this Court’s Order or the Government’s Response. Indeed, Perkins has not taken any

action in this case since he filed his Section 2255 Motion on June 27, 2016.

                                         DISCUSSION

        The Court must now determine how to address Perkins’ failure to comply with this

Court’s Order, his failure to respond to the Government’s Response, and his failure to prosecute

this action. For the reasons set forth below, I RECOMMEND that the Court DISMISS without

prejudice Perkins’ Motion and DENY him leave to appeal in forma pauperis and a Certificate

of Appealability.

I.      Dismissal for Failure to Prosecute and Follow this Court’s Orders

        A district court may dismiss a petitioner’s claims for failure to prosecute pursuant to

Federal Rule of Civil Procedure 41(b) (“Rule 41(b)”) and the court’s inherent authority to




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manage its docket. 2 Link v. Wabash R.R. Co., 370 U.S. 626 (1962); 3 Coleman v. St. Lucie Cty.

Jail, 433 F. App’x 716, 718 (11th Cir. 2011) (citing Fed. R. Civ. P. 41(b) and Betty K Agencies,

Ltd. v. M/V MONADA, 432 F.3d 1333, 1337 (11th Cir. 2005)). In particular, Rule 41(b) allows

for the involuntary dismissal of a petitioner’s claims where he has failed to prosecute those

claims, comply with the Federal Rules of Civil Procedure or local rules, or follow a court order.

Fed. R. Civ. P. 41(b); see also Coleman, 433 F. App’x at 718; Sanders v. Barrett, No. 05-12660,

2005 WL 2640979, at *1 (11th Cir. Oct. 17, 2005) (citing Kilgo v. Ricks, 983 F.2d 189, 192

(11th Cir. 1993)); cf. Local R. 41.1(b) (“[T]he assigned Judge may, after notice to counsel of

record, sua sponte . . . dismiss any action for want of prosecution, with or without

prejudice[,] . . . [based on] willful disobedience or neglect of any order of the Court.” (emphasis

omitted)). Additionally, a district court’s “power to dismiss is an inherent aspect of its authority

to enforce its orders and ensure prompt disposition of lawsuits.” Brown v. Tallahassee Police

Dep’t, 205 F. App’x 802, 802 (11th Cir. 2006) (quoting Jones v. Graham, 709 F.2d 1457, 1458

(11th Cir. 1983)).

        It is true that dismissal with prejudice for failure to prosecute is a “sanction . . . to be

utilized only in extreme situations” and requires that a court “(1) conclud[e] a clear record of

delay or willful contempt exists; and (2) mak[e] an implicit or explicit finding that lesser

sanctions would not suffice.” Thomas v. Montgomery Cty. Bd. of Educ., 170 F. App’x 623,

625–26 (11th Cir. 2006) (quoting Morewitz v. West of Eng. Ship Owners Mut. Prot. & Indem.

Ass’n (Lux.), 62 F.3d 1356, 1366 (11th Cir. 1995)); see also Taylor v. Spaziano, 251 F. App’x

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  Pursuant to Rule 12 of the Section 2255 Rules, the Federal Rules of Civil Procedure may apply to a
Section 2255 motion, to the extent the Civil Rules are not inconsistent with the Section 2255 Rules.
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  In Wabash, the Court held that a trial court may dismiss an action for failure to prosecute “even without
affording notice of its intention to do so.” 370 U.S. at 633. Nonetheless, in the case at hand, the Court
advised Perkins that his failure to respond to the Court’s Order and the Government’s Response would
result in dismissal of this action. (Doc. 4.)


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616, 619 (11th Cir. 2007) (citing Morewitz, 62 F.3d at 1366). By contrast, dismissal without

prejudice for failure to prosecute is not an adjudication on the merits, and, therefore, courts are

afforded greater discretion in dismissing claims in this manner. Taylor, 251 F. App’x at 619;

see also Coleman, 433 F. App’x at 719; Brown, 205 F. App’x at 802–03.

       While the Court exercises its discretion to dismiss cases with caution, dismissal of this

action without prejudice is warranted. See Coleman, 433 F. App’x at 719 (upholding dismissal

without prejudice for failure to prosecute, where plaintiff did not respond to court order to supply

defendant’s current address for purpose of service); Brown, 205 F. App’x at 802–03 (upholding

dismissal without prejudice for failure to prosecute, where plaintiff failed to follow court order to

file amended complaint and court had informed plaintiff that noncompliance could lead to

dismissal).

       Despite having been advised of his obligation to respond to the Government’s Response

and this Court’s Order and the consequences for failing to do so, Perkins has not filed any

opposition or otherwise responded to this Court’s Order. Additionally, with Perkins not having

taken any action in this case since June 27, 2016, he has failed to diligently prosecute his claims.

       Thus, the Court should DISMISS without prejudice Perkins’ Section 2255 Motion,

(doc. 1), for failure to follow this Court’s directives and for failure to prosecute.

II.    Leave to Appeal in Forma Pauperis and Certificate of Appealability

       The Court should also deny Perkins leave to appeal in forma pauperis and a Certificate of

Appealability. Though Perkins has, of course, not yet filed a notice of appeal, it is proper to

address these issues in the Court’s order of dismissal.          Pursuant to Rule 11 of the Rules

Governing Section 2255 Cases, “the district court must issue or deny a certificate of

appealability when it issues a final order adverse to the applicant.” (Emphasis supplied); see also




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Fed. R. App. P. 24(a)(3) (trial court may certify that appeal of party proceeding in forma

pauperis is not taken in good faith “before or after the notice of appeal is filed”).

       An appeal cannot be taken in forma pauperis if the trial court certifies that the appeal is

not taken in good faith. 28 U.S.C. § 1915(a)(3); Fed. R. App. P. 24(a)(3). Good faith in this

context must be judged by an objective standard. Busch v. County of Volusia, 189 F.R.D. 687,

691 (M.D. Fla. 1999). A party does not proceed in good faith when he seeks to advance a

frivolous claim or argument. See Coppedge v. United States, 369 U.S. 438, 445 (1962). A claim

or argument is frivolous when it appears the factual allegations are clearly baseless or the legal

theories are indisputably meritless. Neitzke v. Williams, 490 U.S. 319, 327 (1989); Carroll v.

Gross, 984 F.2d 392, 393 (11th Cir. 1993). Stated another way, an in forma pauperis action is

frivolous, and thus, not brought in good faith, if it is “without arguable merit either in law or

fact.” Napier v. Preslicka, 314 F.3d 528, 531 (11th Cir. 2002); see also Brown v. United States,

Nos. 407CV085, 403CR001, 2009 WL 307872, at *1–2 (S.D. Ga. Feb. 9, 2009).

       Additionally, under 28 U.S.C. § 2253(c)(1), an appeal cannot be taken from a final order

in a habeas proceeding unless a certificate of appealability is issued.             A certificate of

appealability may issue only if the applicant makes a substantial showing of a denial of a

constitutional right. The decision to issue a certificate of appealability requires “an overview of

the claims in the habeas petition and a general assessment of their merits.” Miller-El v. Cockrell,

537 U.S. 322, 336 (2003). In order to obtain a certificate of appealability, a petitioner must show

“that jurists of reason could disagree with the district court’s resolution of his constitutional

claims or that jurists could conclude the issues presented are adequate to deserve encouragement

to proceed further.” Id. “Where a plain procedural bar is present and the district court is correct

to invoke it to dispose of the case, a reasonable jurist could not conclude either that the district




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court erred in dismissing the petition or that the petitioner should be allowed to proceed further.”

Slack v. McDaniel, 529 U.S. 473, 484 (2000); see also Franklin v. Hightower, 215 F.3d 1196,

1199 (11th Cir. 2000). “This threshold inquiry does not require full consideration of the factual

or legal bases adduced in support of the claims.” Miller-El, 537 U.S. at 336.

          Based on the above analysis of Perkins’ failure to follow this Court’s Orders and failure

to prosecute and applying the Certificate of Appealability standards set forth above, there are no

discernable issues worthy of a certificate of appeal; therefore, the Court should DENY the

issuance of a Certificate of Appealability. If the Court adopts this recommendation and denies

Perkins a Certificate of Appealability, Perkins is advised that he “may not appeal the denial but

may seek a certificate from the court of appeals under Federal Rule of Appellate Procedure 22.”

Rule 11(a), Rules Governing Section 2255 Cases in the United States District Courts.

Furthermore, as there are no non-frivolous issues to raise on appeal, an appeal would not be

taken in good faith. Thus, the Court should likewise DENY Perkins in forma pauperis status on

appeal.

                                          CONCLUSION

          For the above-stated reasons, I RECOMMEND the Court DISMISS without prejudice

Perkins’ Motion to Vacate, Set Aside, or Correct his Sentence, filed pursuant to 28 U.S.C.

§ 2255, and DIRECT the Clerk of Court to CLOSE this case and to enter the appropriate

judgment of dismissal. I further RECOMMEND the Court DENY Perkins leave to proceed in

forma pauperis on appeal and a Certificate of Appealability.

          The Court ORDERS any party seeking to object to this Report and Recommendation to

file specific written objections within fourteen (14) days of the date on which this Report and

Recommendation is entered. Any objections asserting that the undersigned failed to address any




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contention raised in the pleading must also be included. Failure to do so will bar any later

challenge or review of the factual findings or legal conclusions herein.       See 28 U.S.C.

§ 636(b)(1)(C); Thomas v. Arn, 474 U.S. 140 (1985). A copy of the objections must be served

upon all other parties to the action.    Upon receipt of objections meeting the specificity

requirement set out above, a United States District Judge will make a de novo determination of

those portions of the report, proposed findings, or recommendation to which objection is made

and may accept, reject, or modify, in whole or in part, the findings or recommendations made

herein. Objections not meeting the specificity requirement set out above will not be considered

by the District Judge. The Court DIRECTS the Clerk of Court to serve a copy of this Report

and Recommendation upon Perkins and Respondent.

        SO ORDERED and REPORTED and RECOMMENDED, this 15th day of March,

2018.




                                    R. STAN BAKER
                                    UNITED STATES MAGISTRATE JUDGE
                                    SOUTHERN DISTRICT OF GEORGIA




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